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                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

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  DAVID VAN ELZEN, individually and on                     Case No. 17-cv-02131-PGG
  behalf of all others similarly situated,
                                                           MOTION FOR ADMISSION
                   Plaintiff,                              PRO HAC VICE

  v.

  REVIMEDIA, INC., a Delaware Corporation,

                    Defendant.
  -----------------------------------------------------X


          Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, I, Patrick H. Peluso, hereby move this Court for an Order for

admission to practice Pro Hac Vice to appear as counsel for Plaintiff in the above-captioned

action.

          I am in good standing of the bar of the State of Colorado and there are no pending

disciplinary proceedings against me in any state or federal court. I have attached the affidavit

required by Local Rule 1.3.

                                                    Respectfully Submitted,

                                                    David Van Elzen, individually and on behalf of
                                                    class of similarly situated individuals


Dated: June 6, 2017                                 By: /s/ Patrick H. Peluso

                                                    Patrick H. Peluso
                                                    Woodrow & Peluso, LLC
                                                    3900 E. Mexico Avenue, Suite 300
                                                    Denver, CO 80210
                                                    Phone: (720) 213-0676
                                                    Email: ppeluso@woodrowpeluso.com
